  1       Dianne C. Kerns, #011557
                      Mailing Address:
                 7320 N. La Cholla #154-413
  2                  Tucson, AZ 85741
                    TELEPHONE 520.544.9094
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  4    Dianne Crandell Kerns, Chapter 13 Trustee

  5
  6
  7                                IN THE UNITED STATES BANKRUPTCY COURT

  8                                           FOR THE DISTRICT OF ARIZONA

  9
 10    In re:                                                     CHAPTER 13 PROCEEDINGS
 11    RACHEL E HAMPTON,                                          Case No. 4:18-bk-05271-BMW
 12                                                               TRUSTEE’S PLAN
                                               Debtor.            OBJECTION/EVALUATION WITH
 13                                                               NOTICE OF POTENTIAL DISMISSAL
                                                                  IF CONDITIONS ARE NOT
 14                                                               SATISFIED
 15                                                               RE: ORIGINAL PLAN (DKT #2)
 16
 17
 18             DIANNE CRANDELL KERNS, Trustee, has analyzed the above-referenced plan and
 19   supporting documents on July 30, 2018 and submits the following evaluation and
 20
      recommendations:
 21
      General Requirements:
 22
         a. Due to the possibility of errors on the claims docket, it is the Attorney’s responsibility to
 23
            review all proofs of claim filed with the Court and resolve any discrepancies between the
 24         claims and the Plan prior to submitting any proposed Stipulated Order Confirming Plan to
            Trustee. Trustee will not recommend confirmation, nor stipulate to confirmation, until the
 25         proof of claims issues are resolved to Trustee’s satisfaction.
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  1      b. Requests by Trustee for documents and information are not superseded by the filing of an
            amended or modified plan or motion for moratorium. LRBP Rule 2084-10(b).
  2
         c. Trustee objects to any reduction in the Plan duration or payout in a proposed Stipulated
  3
            Order Confirming Plan unless an amended modified plan is filed (using Local Form 2084-
  4         4, Chapter 13 Plan) and noticed out.

  5      d. Trustee requires that any proposed Order Confirming Plan state: “The Plan and this Order
            shall not constitute an informal proof of claim for any creditor.”
  6
         e. Trustee requires that any Stipulated Order Confirming Plan state: “Debtor is instructed to
  7         remit all payments on or before the stated due date each month. Debtor is advised that when
  8         payments are remitted late, additional interest may accrue on secured debts, which may
            result in a funding shortfall at the end of the Plan term. Any funding shortfall must be cured
  9         before a discharge can be entered. This requirement is effective regardless of plan payment
            suspensions, waivers or moratoriums, and must be included in any Stipulated Order
 10         Confirming.”
 11
         f. At the time of confirmation, Debtor is required to certify, via language in the Stipulated
 12         Order confirming, that they are current on all payments that have come due on any Domestic
 13         Support Orders since the filing of their case and that they are current on all required tax
            return filings [pursuant to 11 U.S.C. Sec 1325(a)(8), (9)].
 14
         g. Debtor or Debtor’s Attorney is required to provide copies of their federal and state income
 15         tax returns for each year for the duration of the Plan to Trustee. Tax returns must be
            forwarded within 30 days after the returns have been filed. All Personally Identifiable
 16         Information must be redacted prior to submission. Tax returns may be submitted to
 17         mail@dcktrustee.com. This requirement is to be included in the Stipulated Order
            Confirming the plan. Failure to submit tax returns may result in the dismissal of the Chapter
 18         13 case.

 19      h. If Debtor received a tax refund larger than $1,000.00 for the tax period preceding the filing
            of this case, the continuation of such deduction would constitute a diversion of income that
 20         would otherwise be available to creditors. Accordingly Trustee requires that Debtor (i)
            adjust payroll tax deductions to prevent over withholding, (ii) amend Schedule I to reflect
 21
            the reduced withholding; (ii) submit to Trustee two consecutive paystubs to verify said
 22         reduction; and (iv) increase the plan payments in the Stipulated Order Confirming.

 23      i. If Debtors are in default (in any amount) on their first mortgage the plan must
            propose mortgage conduit payments. If the plan does not propose a mortgage
 24         conduit, Trustee objects to confirmation. This may be resolved by amending the
 25         plan or seeking an order from the court excusing compliance with the conduit
            requirement. L.R.B.P. Rule 2084-4(b).
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      Specific Requirements:
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  3         1. Tax Refunds. If Debtor receives a tax refund in excess of $1,000.00 during the
               pendency of this case, said refund must be turned over to Trustee. The proposed
  4            stipulated order on confirmation needs to specifically provide that such refund is a
               SUPPLEMENTAL payment under the plan.
  5
            2. The order confirming plan must contain the following language related to
  6
               treatment of general unsecured claims: “General Unsecured Claims. Such claims
  7            shall be paid pro rata the balance of payments under the Plan and any unsecured debt
               balance remaining unpaid at the end of the Plan may be discharged as provided in 11
  8            U.S.C. § 1328(a).”
  9         3. Filed Proofs of Claim. To date Trustee has noted that the following Creditors have
 10            filed proofs of claim that differ from the treatment proposed in the Chapter 13
               Plan. Trustee objects to the treatment of these proofs of claim. This objection may
 11            be resolved by amending the secured/priority treatment to match the proofs of
               claim in the Stipulated Order Confirming the Plan or by filing an objection
 12            followed by an order: AMERICAN CREDIT ACCEPTANCE. This objection
               extends to proofs of claim, if any, filed after the date of this evaluation/objection
 13            which seek treatment different from that provided for in the proposed Chapter 13
 14            Plan.

 15         4. Vehicle Purchased within 910 Days Prior to Filing. Trustee objects to confirmation
               because Debtor has proposed to pay less than the full amount of principal owed on
 16            the claim filed by AMERICAN CREDIT ACCEPTANCE which is secured by
               Debtor’s vehicle. It appears that 11 U.S.C. 506 does not apply because the debt was
 17            incurred within the 910-day period preceding the date of the filing of the petition.
 18            This objection may be resolved by amending the plan to allow for payment in full
               of the principal amount owed, having the creditor sign the stipulated order of
 19            confirmation, or by objecting to the claim and obtaining a court order approving
               treatment of the claim.
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  1        5. Adequate Protection Payments. Trustee objects to confirmation because the
              requirements of Local Rule 2084-6 (http://www.azb.uscourts.gov/rule-2084-6)
  2           have not been met. Currently, Trustee is unable to disburse adequate protection
  3           payments to AMERICAN CREDIT ACCEPTANCE in the amount of $140.00 as
              listed in the Chapter 13 Plan. Adequate protection payments may not commence
  4           until a proof of claim has been filed and written request to commence payments
              has      been     received     from    either    Debtor     or    the   creditor
  5           (http://www.dcktrustee.com/forms.html see AP commencement notice). This
              objection may be resolved by ensuring that a proof of claim has been entered on
  6           the claims registry and notice to commence adequate protection payments has been
  7           filed on the docket.

  8        6. Unfiled Proofs of Claim. To date the following creditors listed in the Plan have not filed
              proofs of claims: NONE. Trustee reserves the right to supplement or amend this
  9           paragraph.
 10        7. Plan Payments. Debtor has made payments in the total amount of $1,060.00. Debtor
              is current on these payments through July 2018. Trustee will not stipulate to
 11           confirmation unless the plan payments are current. Plan payment information may be
 12           obtained by logging on to www.ndc.org. In general, the information on this website is
              24-hours old.
 13
 14        8. Documents Requested by Trustee. Any documents that have been requested will need
              to be provided within 30 days. Such documents should be sent to Trustee with a cover
 15           letter outlining and describing the documents. Any documentation submitted must be
 16           legible, organized by category and month, totaled and averaged (i.e. “show your
              work”). If Debtor fails to follow this guideline, Trustee will not consider any
 17           information as being received and a Dismissal Order may be lodged for failure to
              comply. Debtor is also required to submit a written explanation justifying the
 18           reasonable NECESSITY of the excessive expenses.
 19        9. Liquidation Analysis: At this time Trustee believes that the plan does satisfy the
              liquidation analysis requirements. Trustee reserves the right to amend this conclusion.
 20
 21        10. Projected Disposable Income: At this time Trustee believes that the plan does satisfy
               the projected disposable income requirement of Sec 1325(b). Trustee reserves the right
 22            to amend this conclusion.

 23        11. Plan Feasibility. Pursuant to Trustee’s calculations, the Chapter 13 Plan is feasible at
               this time. However, Trustee reserves the right to file an amended evaluation requiring
 24            adjustments to the terms of the plan, including an increase in plan funding if necessary,
               in order to address all timely filed proofs of claim once the claims bar date has passed
 25
               in this case.
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  1              12. Objections to Confirmation. Debtor shall resolve plan objections by submitting a
                     proposed SOC to Trustee or by setting a hearing on the objection within 30 days of this
  2                  objection/evaluation. If Debtor wishes to confirm by stipulation, the stipulation of the
  3                  objecting creditor must be obtained in writing prior to submitting a proposed SOC to
                     Trustee. If the resolution of the objection requires changes which have an adverse
  4                  impact on any other creditor under the plan (including a reduction in the amount to any
                     creditor and/or a delay in payment), the changes must be noticed to creditors and an
  5                  opportunity for objection provided. To date Trustee has noted that the following
                     creditors have filed objections to the Chapter 13 Plan: NONE.
  6
                 13. Submission of Proposed SOC. If Debtor proposes to confirm the plan through a
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                     stipulated order on confirmation, a Notice of Submitting Proposed SOC should be filed
  8                  with the Court, including a complete copy of the Proposed SOC as an exhibit. The
                     Notice, SOC, and filing receipt may then be transmitted to Trustee via electronic mail
  9                  (mail@dcktrustee.com) or first class mail. Trustee will not review a proposed SOC if
                     it does not appear on the court’s docket. Trustee considers the time for reviewing a
 10                  proposed Order pursuant to LRBP Rule 2084-13(e), to begin running when all
 11                  Recommendation conditions are met.1

 12              RESPECTFULLY SUBMITTED this 2nd day of August, 2018.
 13
                                                            OFFICE OF THE CHAPTER 13 TRUSTEE
 14                                                         7320 N. La Cholla #154-413
                                                            Tucson, AZ 85741
 15
                                                            By /s/ DCK #011557
 16                                                            Dianne C. Kerns, Chapter 13 Trustee

 17
      A copy of the foregoing was filed with the
 18   court and a copy, was transmitted via
      electronic or first class
 19
      mail this 8/2/2018 to:
 20
      RACHEL E HAMPTON
 21   37913 N. RUSTY LN.
      SAN TAN VALLEY, AZ 85140
 22   Debtor
 23
      Benjamin Wright
 24   Wright Law Offices
      2999 N. 44th St. Suite 600
 25   Phoenix, AZ 85018
 26   1
          The alternative to stipulated confirmation is setting a contested confirmation hearing before the judge.




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      Fax : 480-717-3380
  2   Email: bwright@wloaz.com
  3   Attorney for Debtor

  4   By: SA

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